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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  EASTERN DIVISION

EMANUAL VANCE                                                                          PLAINTIFF

vs.                                   2:05CV00316-WRW

BRINKLEY PUBLIC SCHOOLS, et al.                                                    DEFENDANTS

                                              ORDER

       Pending is Plaintiff’s Motion For Equitable Relief (Doc. No. 58). Defendants have

responded (Doc. No. 64). For the reasons set out below, Plaintiff’s Motion is GRANTED in part,

and DENIED in part.

I. BACKGROUND

       Plaintiff, an African American, was employed as an Industrial Education Instructor by

Defendant Brinkley Public Schools from 1984 until the 2002-2003 school year, when his

contract was not renewed.1

       On September 25, 2008, a jury found that Defendants discriminated against Plaintiff

based on race in violation of 42 U.S.C. § 1983 when Defendants did not renew Plaintiff’s

contract. The jury awarded Plaintiff $120,492.75 in actual damages. On September 26, 2008, the

Court entered a Judgement on Jury Verdict in that amount, plus post-judgment interest.

       Plaintiff filed a Motion for Equitable Relief, asking for reinstatement, or, in the

alternative, front pay.2 Defendants objected to Plaintiff’s request.3


       1
        Doc. No. 22.
       2
        Doc. No. 58.
       3
        Doc. No. 64.

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II. DISCUSSION

       Reinstatement and front pay are equitable remedies.4 The Court has discretion to award

or deny equitable relief.5 “Ordinarily, reinstatement would follow a finding of § 1983 liability for

nonrenewal of a teaching contract; in extraordinary circumstances, however, reinstatement may

not be the appropriate remedy.”6

       A. Reinstatement

       Reinstatement may not be appropriate when the teacher-principal relationship was so

badly damaged that it could not be reestablished7 and when there was extreme hostility between

a discharged teacher and that teacher’s colleagues and superiors.8 Reinstatement also may be

inappropriate when there is no position available in which to reinstatement the plaintiff at the

time of judgment;9 a discharged employee is no longer fit for the job from which he was

discharged;10 or when a discharged employee’s own post-termination conduct prevents him from

being reinstated.11




       4
        See Brooks v. Woodline Motor Freight, Inc., 852 F.2d 1061, 1065 (8th Cir. 1988).
       5
        Gibson v. Mohawk Rubber Co., 695 F.2d 1093, 1100 (8th Cir. 1982).
       6
        Standley v. Chilhowee R-IV Sch. Dist., 5 F.3d 319, 322 (8th Cir. 1993) (citing Dickerson
v. Deluxe Check Printers, Inc., 703 F.2d 276, 281 (8th Cir. 1983)).
       7
        Cowan v. Strafford R-VI Sch. Dist., 140 F.3d 1153, 1160 (8th Cir. 1998).
       8
        Standley, 5 F.3d at 322.
       9
        See Starceski v. Westinghouse Elec. Corp., 54 F.3d 1089, 1103 (3d Cir. 1995).
       10
            See Thomlison v. City of Omaha, 63 F.3d 786 (8th Cir. 1995).
       11
            See Sellers v. Mineta, 358 F.3d 1058 (8th Cir. 2004).

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       Directing Defendant Brinkley School District to reinstate Plaintiff is impractical for

multiple reasons. Defendant Brinkley School District currently has a building trades instructor.

Ordering Plaintiff’s reinstatement would “disrupt the employment of others.”12 Further, Plaintiff

taught small classes consisting of 6-7 students.13 Brinkley School District does not need to hire

an additional building trades instructor, nor does it have the financial resources to do so.14

Additionally, there was evidence presented at trial that Defendant Brinkley School District

offered Plaintiff a different job after Plaintiff was aware his contract would not be renewed, but

that Plaintiff expressed no interest in the job. While the evidence presented was not conclusive as

to the specifics of the job, how the job was offered, and, allegedly, how the job was declined, it

does appear that Defendant approached Plaintiff about employment in another position.

       Evidence was presented at trial that Plaintiff left his students unsupervised. Defendant

Brinkley School District exposed itself to unnecessary liability and its students to harm through

Plaintiff’s actions. While the jury in this case found Defendants discriminated against Plaintiff,

Defendant Brinkley School District did eventually terminate the employment of another teacher

Plaintiff identified as similarly situated. These factors lead me to believe that Plaintiff should

not be reinstated.

       B. Front Pay

       With respect to front pay, the Court, in its discretion, may consider the following

factors -- among others -- in determining how much front pay to award: “an employee’s duty to



       12
        Deloach v. Delchamps, Inc., 897 F.2d 815, 822 (5th Cir. 1990) (denial of reinstatement
upheld where reinstatement was impractical).
       13
            Doc. No. 64.
       14
            Id.

                                                  3
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mitigate, the availability of employment opportunities, [and] the period within which one by

reasonable efforts may be re-employed . . . .”15

       Given the circumstances of this case, Plaintiff will be awarded front pay, but not in the

amount he requested. Considering the effect of the jury’s verdict in making Plaintiff whole, and

Plaintiff’s duty to mitigate (Plaintiff applied to only three teaching jobs during the four years

after his termination), Plaintiff is awarded two years of front pay in the amount of $8,000 per

year, for a total of $16,000. “Longer terms of front pay are usually awarded when it is unlikely

that the plaintiff will ever be able to achieve the level of income and responsibility that he

enjoyed in his earlier position . . . .”16 The facts in this case do not support an award of a longer

term of front pay. Accordingly, Plaintiff’s Motion For Equitable Relief is DENIED as to

reinstatement, but GRANTED in connection with front pay in the amount of $16,000.

       IT IS SO ORDERED this 23rd day of December, 2008.



                                                      /s/Wm. R. Wilson, Jr.
                                                UNITED STATES DISTRICT JUDGE




       15
            Arban v. West Pub. Corp., 345 F.3d 390, 406 (6th Cir. 2003).
       16
            See Ollie v. Titan Tire Corp., 33 F.3d 680, 688 (8th Cir. 2003).

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